   Case: 1:18-cv-08144 Document #: 69 Filed: 08/28/19 Page 1 of 1 PageID #:470
       U.S. DISTRICT COURT FOR THE NORTHERN DISTRICT OF ILLINOIS
                       ATTORNEY APPEARANCE FORM

NOTE: In order to appear before this Court an attorney must either be a member in good
standing of this Court’
                      s general bar or be granted leave to appear pro hac vice as provided for
by Local Rules 83.12 through 83.14.

In the Matter of                                                           Case Number: 18 C 8144
John Velez v City of Chicago, et al.,




AN APPEARANCE IS HEREBY FILED BY THE UNDERSIGNED AS ATTORNEY FOR:
Cook County, James Davis, and John Sullivan




NAME (Type or print)
Ryan J. Gillespie
SIGNATURE (Use electronic signature if the appearance form is filed electronically)
           s/ Ryan J. Gillespie
FIRM
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ID NUMBER (SEE ITEM 3 IN INSTRUCTIONS)                  TELEPHONE NUMBER
6329728                                                 (312) 603-7379

ARE YOU ACTING AS LEAD COUNSEL IN THIS CASE?                         YES              NO    ✔

ARE YOU ACTING AS LOCAL COUNSEL IN THIS CASE?                        YES              NO    ✔

ARE YOU A MEMBER OF THIS COURT’
                              S TRIAL BAR?                           YES              NO    ✔

IF THIS CASE REACHES TRIAL, WILL YOU ACT AS THE TRIAL ATTORNEY?                       YES       NO   ✔

IF THIS IS A CRIMINAL CASE, CHECK THE BOX BELOW THAT DESCRIBES YOUR STATUS.

RETAINED COUNSEL                  APPOINTED COUNSEL
